                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                         5:23-CV-349

  RONALD JOHNSON,

           Plaintiff,
                                                                         ORDER
            V.

  TOWN OF SMITHFIELD et al.,

            Defendants.




          THIS MATTER IS BEFORE THE COURT on Defendant Zellinger's timely motion to

quash a subpoena issued to him on February 20, 2025, requiring him to disclose material that is

subject to a protective order.

          For good cause                   ased on Zellinger motion
                            r. t>,z. ti.t:tJ
memorandum of la , this          ourt, m its discretion, grants Zellinger's motio

the subpoena commanding production of protected material issued on February 20, 2025 in this

action.

          This the ___t1i_ day of Fel,rv
                                           7 ,2025 .
                                                         Ho;James C. Dever III
                                                         U.S. District Court Judge




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